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4    Attorney for Defendant
     KHAMLE KEOVILAY
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6
7                             IN THE UNITED STATES DISTRICT COURT
8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                   )   Case No. CR. S-09-222-TLN
                                                 )
11                               Plaintiff,      )   STIPULATION AND ORDER TO
                                                 )   CONTINUE STATUS CONFERENCE
12   v.                                          )
                                                 )   Date: February 6, 2014
13   KHAMLE KEOVILAY,                            )   Time: 9:30 a.m.
                                                 )   Judge: Hon. TROY L. NUNLEY
14                               Defendant.      )
                                                 )
15                                               )
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            It is hereby stipulated and agreed to by the United States of America through HEIKO P.
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18   COPPOLA, Assistant United States Attorney, and defendant, KHAMLE KEOVILAY, by and

19   though his counsel, DENNIS S. WAKS, that the Trial Conference Hearing/Status Conference set
20   for January 9, 2014 and the Jury Trial set for January 27, 2014 be vacated and that a status
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     conference be set on Thursday, February 6, 2014, at 9:30 a.m. This continuance is being
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     requested because defense counsel needs additional time to prepare, to review discovery, and to
23
     interview witnesses. The defendant has received a large amount of discovery, including Title III
24
25   documents. The parties anticipate that this case will be resolved without the need for a trial.

26          Furthermore, the parties stipulate and agree that the interest of justice served by granting

27   this continuance outweigh the best interest of the public and the defendant in a speedy trial (18
28
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     U.S.C. §3161(h)(7)(A)). Speedy trial time is to be excluded from the date of this order through
1
2    the date of the status conference set for February 6, 2014, pursuant to 18 U.S.C. § 3161

3    (h)(7)(B)(iv) [reasonable time to prepare] (Local Code T4).
4    DATED: January 6, 2014
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                                                   Respectfully submitted,
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7                                                  /s/ Dennis S. Waks

8                                                  DENNIS S. WAKS
                                                   Attorney for Defendant
9                                                  KHAMLE KEOVILAY

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11
     DATED: January 6, 2014
12                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
13
14                                                 /s/ Dennis S. Waks for

15                                                 HEIKO P. COPPOLA
                                                   Assistant U.S. Attorney
16
17
18                                               ORDER

19             Based on the stipulation of the parties and good cause appearing therefrom, the Court

20   hereby finds that the failure to grant a continuance in this case would deny defense counsel

21   reasonable time necessary for effective preparation, taking into account the exercise of due
22   diligence. The Court specifically finds that the ends of justice served by the granting of such
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     continuance outweigh the interests of the public and the defendant in a speedy trial. Based on
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     these findings and pursuant to the stipulation of the parties, the Court hereby adopts the
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     stipulation of the parties in its entirety as its order. Time is excluded from computation of time
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     within which the trial of this matter must be commenced beginning from the date of the
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28   stipulation through and including February 6, 2014, pursuant to 18 U.S.C. § 3161(h)(7)(A) and
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     (B)(iv) [reasonable time for defense counsel to prepare] and Local Code T4. A new status
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2    conference date is hereby set for February 6, 2014, at 9:30 a.m.

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4    Dated: January 7, 2014
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8
                                                Troy L. Nunley
9                                               United States District Judge
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